          Case 2:18-cr-00422-DJH Document 777-4 Filed 10/18/19 Page 1 of 1



                                                       U.S. Department of Justice
                                                       Federal Bureau of Investigation



 In Reply, Please Refer to                             21711 N. 7th Street
 File No. PX-9247052                                   Phoenix, Arizona 85024

                                                       May 16, 2017

Yiota G. Souras
Senior Vice President
General Counsel
National Center for Missing & Exploited Children
699 Prince Street
Alexandria, Virginia 22314-3175
Email: ysouras@ncmec.org

Re:     Request for records and evidence relating to Backpage.com

Dear Ms. Souras,

         This written request for records and documents is being made in the lawful performance of my
official duties as an investigator of the Federal Bureau of Investigation. As part of an ongoing criminal
investigation into the activities ofBackpage.com, it is requested that NCMEC provide the following:

         Notes and emails documenting communication NCMEC had with Backpage.com, documents
prepared for meetings and discussions with Backpage.com, recommendations NCMEC made to
Backpage.com, communications regarding discussions regarding Backpage.com, research packets
NCMEC prepared documenting instances of child sex trafficking or missing and exploited children
related to Backpage.com, documents and records provided to the Senate’s Permanent Subcommittee on
Investigations related to Backpage.com.

         The records can be provided in paper or electronic format. Please send the documents to the
attention of Special Agent Desirae K. Tolhurst, FBI, Phoenix Division, telephone (623) 466-1481 or via
email at the email address: desirae.tolhurst@ic.fbi.gov.

        Thank you for time and attention to this matter.

                                                           Sincerely,

                                                           Michael D. DeLeon
                                                           Special Agent in Charge




                                                           Supervisory Special Agent
